                                                                          8:07-cr-00266-LES-TDT           Doc # 33   Filed: 03/24/08     Page 1 of 1 - Page ID # 85



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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                 Plaintiff,                                 No. CR 07-00671-1 JSW
                                                                         11     v.                                                     ORDER RE PLEA AGREEMENT
United States District Court
                               For the Northern District of California




                                                                         12   PATRICE RAVEN,
                                                                         13                 Defendant.
                                                                                                                            /
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                                                                         15          On November 29, 2007, Defendant entered a plea of guilty in this matter pursuant to
                                                                         16   Federal Rule of Criminal Procedure 11(c)(1)(C). At that time, the Court reserved ruling on
                                                                         17   whether it would accept the plea agreement pending the preparation and receipt of a
                                                                         18   Presentence Investigation Report (“PSR”). The matter is set for judgment and sentencing on
                                                                         19   March 20, 2008 at 2:30 p.m. Having considered the PSR, as well as the parties’ sentencing
                                                                         20   memoranda, the Court HEREBY ADVISES the parties that it intends to reject the plea
                                                                         21   agreement. See Fed. R. Crim. P. 11(c)(5). The parties are ORDERED to appear on March 20,
                                                                         22   2008 as scheduled, so that the Court can formally reject the agreement on the record and to
                                                                         23   advise the Defendant of her rights in accordance with Rule 11(c)(5)(B)-(C).
                                                                         24          IT IS SO ORDERED.
                                                                         25   Dated: March 14, 2008
                                                                                                                                       JEFFREY S. WHITE
                                                                         26                                                            UNITED STATES DISTRICT JUDGE
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